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                                              March 21, 2025

   The Honorable Mitchell S. Goldberg                                      VIA ELECTRONIC FILING
   United States District Court
     for the Eastern District of Pennsylvania
   601 Market Street
   Philadelphia, PA 19106-1797

           Re:       Arbutus Biopharma Corporation et al. v. Moderna, Inc. et al.,
                     C.A. No. 22-252 (MSG)

  Dear Judge Goldberg:

           Defendants Moderna, Inc. and ModernaTX, Inc. (collectively, “Moderna”) respectfully
  request that the Court reschedule the April 24, 2025 hearing concerning the parties’ anticipated
  summary judgment and Daubert motions, along with the associated letter submissions, to early
  May 2025, subject to the Court’s availability, so that the parties can complete expert discovery in
  advance of these proceedings. Completion of expert discovery would allow the parties to better
  identify and narrow any anticipated summary judgment and Daubert motions before raising them
  with Your Honor.

  Background

          Fact discovery has been extended numerous times to accommodate Plaintiffs Arbutus
  Biopharma Corporation and Genevant Sciences GmbH (collectively, “Plaintiffs’”) serial requests
  for extensions to complete third-party fact discovery. In almost every instance, Moderna agreed
  not to oppose the requests despite having concerns that Plaintiffs were not diligent in pursuing
  such discovery. See, e.g., D.I. 385, 389, 400, 402, 408, 412, and 414. The parties are now
  preparing to serve the reply round of expert reports on March 21, 2025. No less than seven experts
  for each side have submitted reports so far and, recognizing the logistical challenges for the experts
  and for counsel to depose a total of fifteen expert witnesses, certain expert depositions have been
  scheduled to take place after the currently scheduled close of expert discovery, set for April 25,
  2025. D.I. 396; see also Feb. 27, 2025 email from M. McLennan (Ex. A). As part of the parties’
  negotiations regarding expert deposition dates, Moderna requested that the parties jointly request
  to move the in-person conference concerning summary judgment and Daubert motions from April
  24, 2025 to May 2025. Although the parties ultimately agreed on a deposition schedule for all
  fifteen experts, which will take place between March 27 and April 30, 2025, the parties could not
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  agree on a proposal to extend the April 24 hearing and associated letter briefing. Mar. 10, 2025
  email from M. Lachman (Ex. A). As it stands, the letter advising this Court of anticipated summary
  judgment and Daubert motions would be due on April 17, 2025, and the hearing would be on April
  24, 2025—in the midst of expert depositions. See D.I. 396, 397. This schedule thus requires
  identification of issues that may or may not be resolved through depositions taking place after
  these deadlines, which counsels in favor of extending these deadlines to allow for the completion
  of depositions in the first instance, followed by the identification of summary judgment and
  Daubert issues based on a complete record of expert discovery.

  Good Cause Exists to Continue the April 24, 2025 Hearing, and a Continuance Would
  Promote Efficiency and Would Not Prejudice Plaintiffs

          Federal courts have broad discretion in managing discovery. Dow Chem. Canada Inc. v.
  HRD Corp., 287 F.R.D. 268, 270 (D. Del. 2012). A schedule may be modified for good cause and
  with the judge’s consent. Fed R. Civ. P. 16(b)(4). “The good cause standard hinges on the
  diligence of the moving party; in order to show good cause, a movant must first meet the threshold
  requirement that it demonstrate that, despite diligence, the proposed new filing could not have
  reasonably been made in a timely manner.” Vaxel Int’l Co., Ltd v. HealthCo LLC, C.A. No. 20-
  224-GBW, D.I. 226 (D. Del. June 28, 2022) (Ex. B). “The good cause standard under Rule 16(b)
  hinges on diligence of the movant and not on prejudice to the non-moving party.” Venetec Int’l v.
  Nexus Med., 541 F. Supp. 2d 612, 618 (D. Del. 2010).

          Good cause exists here to extend the April 17, 2025 deadline to submit a letter regarding
  the parties’ anticipated summary judgment and Daubert motions and the April 24, 2025 hearing
  date because the parties, and the Court, could conserve resources by narrowing any disputes—and
  presenting any to the Court that remain—after the parties have had a full opportunity to complete
  expert discovery. Only after the completion of expert discovery will the parties be best positioned
  to identify what, if any, summary judgment and Daubert motions they intend to file and whether
  there is an opportunity to reach resolution on any issues before raising them with the Court.
  Presenting such motions before the completion of expert discovery would be premature and may
  unnecessarily burden the Court with issues that may be resolved after the currently scheduled April
  24 hearing.

          The Court’s August 15, 2024 Order, also requests that the parties identify “[t]he number
  of claims and prior art references that will be litigated at trial.” D.I. 397. It would be premature
  to present the narrowed set of asserted claims and prior art references while expert depositions are
  ongoing. Moderna fully expects to narrow the prior art references it intends to rely on for its
  invalidity case at trial, but such narrowing should not be required until the completion of expert
  depositions.

          Moderna was diligent in raising this request with Plaintiffs as early as February 27, 2025.
  See Mar. 21, 2025 email from T. Kurschner (Ex. A) (nothing that “Even though the schedule only
  required the parties to disclose deposition dates next Monday, March 24, Moderna was proactive
  in reaching out nearly a month before this deadline to begin deposition scheduling and avoid delays
  in the schedule. Moderna also identified the need to reschedule the letter and hearing dates for
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  proposed Daubert and SJ grounds at that time.”). It is unfortunate the parties could not agree to
  this modest extension request given the accommodations Moderna has made for plaintiffs’ belated
  third-party discovery demands. In the meet and confer and in written correspondence, Plaintiffs
  have identified no prejudice to this request other than it would “reduce the time Plaintiffs have to
  adjust to the Court’s rulings before the deadline to submit summary judgment and Daubert
  motions.” Mar. 20, 2025 email from M. Lachman (Ex. A). But any adjustment will impact the
  parties equally, and this impact will be minimal as the parties will have to account for the entire
  expert discovery record in preparing its motions regardless, which will not be completed until the
  end of April. Moreover, given the pending request to adjust the start of trial, there may also be an
  opportunity to make small adjustments to the summary judgment and Daubert briefing schedules
  to address any purported prejudice raised by plaintiffs.

  Conclusion

          For good cause shown, Moderna respectfully requests that the Court grant Moderna’s
  request to amend the deadline for the parties to submit 4-page letters addressing summary
  judgment motions, Daubert motions, and claim and prior art narrowing until at least May 2, 2025,
  and to reschedule the April 24, 2025 hearing to May 7, 2025, subject to the Court’s availability.
  Moderna also respectfully requests that expert discovery be extended until April 30, 2025 to
  accommodate the parties’ agreed-to deposition schedule. A proposed order is submitted herewith.



                                                    Respectfully,

                                                    /s/ Travis J. Murray

                                                    Travis J. Murray (#6882)

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  Enclosures
     cc: All Counsel of Record (via electronic mail)
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                                     RULE 7.1.1 CERTIFICATE

         Pursuant to D. Del. LR 7.1.1, counsel for Defendants hereby certify that the parties have

  met and conferred regarding the foregoing, and the parties have not been able to reach agreement

  on the issues raised in Defendants’ letter.

                                                     /s/ Travis J. Murray

                                                     Travis J. Murray (#6882)
